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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
v.                                                §
                                                  §          Case No. 21-CR-00046-RDM
PATRICK MONTGOMERY,                               §
BRADY KNOWLTON, and                               §
GARY WILSON                                       §
                                                  §
       Defendants                                 §

                   DEFENDANTS’ MOTION TO CHANGE VENUE

TO THE HONORABLE RANDOLPH D. MOSS, UNITED STATES DISTRICT
JUDGE FOR THE DISTRICT OF COLUMBIA:

       PATRICK MONTGOMERY, BRADY KNOWLTON, and GARY WILSON, the

Defendants in the above styled and numbered cause, by and through their respec-

tive, undersigned counsel, pursuant to Federal Rule of Criminal Procedure 21(a),

and the Fifth and Sixth Amendments to the United States Constitution, respectful-

ly request that this Court move their trial outside the District of Columbia.

                                                ___

       “[J]uries can bring strongly held views to the courtroom in criminal
       trials involving political subject matters, and those views can, in turn,
       affect the likelihood of obtaining a conviction, separate and apart from
       the strength of the actual evidence and despite a court’s best efforts to
       empanel a fair and impartial jury.”

       -- John Durham, Special Counsel, Department of Justice, REPORT ON
       MATTERS RELATED TO INTELLIGENCE ACTIVITIES AND INVESTIGATIONS
       ARISING OUT OF THE 2016 PRESIDENTIAL CAMPAIGNS, May 12, 20231




1 Available at https://www.justice.gov/storage/durhamreport.pdf.




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      Although the Defendants are aware that this Court — like several other

courts in this District — has previously denied a motion to change venue raised by

another defendant charged with offenses related to their actions at the United

States Capitol on January 6, 2021, the Defendants nevertheless request this Court

consider their request to move their trial outside the District of Columbia. See Unit-

ed States v. Bochene, 579 F. Supp. 3d 177, 185–86 (D.D.C. 2022) (RDM); see, e.g.,

United States v. Rhodes, 610 F. Supp. 3d 29, 56–57 (D.D.C. 2022) (APM); United

States v. Brock, ––– F. Supp. 3d ––––, 2022 WL 3910549, at *7 (D.D.C. Aug. 31,

2022) (JDB).

      The Defendants have no doubt that this Court would intend to do its best fol-

lowing the procedure set out in United States v. Haldeman, 559 F.2d 31 (D.C. Cir.

1976), using voir dire first to determine juror partiality and prejudice before consid-

ering changing venue. Id. at 62–64. However, the sentiment expressed by Special

Counsel John Durham to Attorney General Merrick Garland last month cannot be

ignored. Given (a) the overwhelming presumption of guilt among prospective D.C.

jurors toward January 6 defendants, (b) the fact that D.C. jurors are demonstrably

more hostile towards January 6 defendants than adults surveyed nationwide, as

well as in demographically comparable federal court divisions, (c) the impact of sus-

tained and inflammatory media coverage of January 6 cases on the D.C. jury pool,

and (d) the political subject matter that will encompass this trial, the Defendants

believe that, despite this Court’s best efforts to empanel a fair and impartial jury,

their case involves the “extreme circumstances” that the court in Haldeman recog-




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nized demands “a change of venue prior to attempting selection of a jury” in order to

preserve their right to due process. See id. at 60, 62. Special Counsel Durham’s con-

cern about juror prejudice in cases involving political subject matters (particularly

ones that involve the actions of former President Donald J. Trump) undeniably rec-

ognizes a society dominated by electronic devices and social media that did not exist

in 1976 when Haldeman was decided. Accordingly, this Court should move the De-

fendants trial to a district outside of the District of Columbia.

                                     ARGUMENT

      Both the Fifth and Sixth Amendments secure the right to trial by an impar-

tial jury. See U.S. CONST. amends. V, VI; Skilling v. United States, 561 U.S. 358,

377, 130 S. Ct. 2896, 2912, 177 L. Ed. 2d 619 (2010). The importance of an impartial

jury is so fundamental to Due Process that, when prejudice makes it such that a de-

fendant cannot obtain a fair and impartial trial in the indicting district, the dis-

trict court must transfer the proceedings upon the defendant’s motion. See FED. R.

CRIM. P. 21(a); Skilling, 561 U.S. at 378.

      In some instances, the hostility of a venue is so severe that there can be “a

presumption of prejudice in a community that the jurors’ claims that they can be im-

partial should not be believed.” Patton v. Yount, 467 U.S. 1025, 1031, 104 S. Ct.

2885, 81 L. Ed. 2d 847 (1984). In Skilling, the Supreme Court reaffirmed the pre-

sumption approach articulated in Patton and identified three factors to guide trial

and appellate courts in determining whether a presumption should attach: (1) “the

size and characteristics of the community in which the crime occurred”; (2) the type




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of information included in the media coverage; and (3) the time period between the

arrest and trial, as it relates to the attenuation of the media coverage.2 Skilling, 561

U.S. at 382–83.

        Where presumption of prejudice attaches, the Supreme Court has further rec-

ognized that it overrides juror declarations of impartiality during voir dire because

such attestations may be insufficient to protect a defendant’s rights in particularly

charged cases. Murphy v. Florida, 421 U.S. 794, 802, 95 S. Ct. 2031, 44 L. Ed. 2d

589 (1975) (“Even these indicia of impartiality might be disregarded in a case where

the general atmosphere in the community or courtroom is sufficiently inflammato-

ry.”). Indeed, on appeal of a denial of a motion for change of venue, an appellate

court need not even examine the voir dire record if it finds that the presumption at-

tached. Rideau v. Louisiana, 373 U.S. 723, 727, 83 S. Ct. 1417, 10 L. Ed. 2d 663

(1963) (“But we do not hesitate to hold, without pausing to examine a particularized

transcript of the voir dire examination of the members of the jury, that due process

of law in this case required a [transfer].”). Thus, voir dire is not a cure for significant

and substantiated Due Process concerns about the jury pool.

        The Defendants submit that each of the three Skilling factors compels trans-

fer of venue in this case.




2 Not relevant to the instant motion, the Supreme Court identified a fourth factor for consideration

upon appellate review following trial in the contested venue: whether the jury convicted the defend-
ant on all counts or only on a subset of counts. The lack of uniformity in result after denial of a motion
to transfer venue, the Court observed, indicates that the jury was impartial and capable of rendering
a verdict on only the facts presented, rather than preconceived notions of guilt. Skilling, 561 U.S. at
383.



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      A. The survey data, size, and characteristics of the D.C. jury pool
         demonstrate that the presumption of juror prejudice attaches.

      The foundation for the presumption of prejudice is found in Rideau, 373 U.S.

at 727. In Rideau, half of the small jury pool had been exposed to prejudicial media

— a widely-circulated video of the defendant’s confession. Id. at 726. Despite voir

dire revealing that only three seated jurors had actually seen the broadcasts at is-

sue, the Court found that the share of the pool that the video tainted was significant

enough to render the defendant presumptively prejudiced. Id. at 725. In applying

Rideau, many courts have focused on population size and diversity as a proxy for

the population’s share that was likely impacted. For example, in Skilling, the Court

observed that while the number of Enron victims in Houston was higher than that

of other crimes, it was far from universal: because Houston is the fourth-largest city

in the United States and highly diverse, a significant number of prospective jurors

would lack any connection to Enron. Skilling, 561 U.S. at 358 (“[E]xtensive screen-

ing questionnaire and followup [sic] voir dire yielded jurors whose links to Enron

were either nonexistent or attenuated.”).

      Three circumstances of the Defendants case distinguish it from Skilling: 1)

the size and demographics of D.C., 2) the unprecedented impact of the event of Jan-

uary 6 on D.C. and its residents, and 3) the steady drumbeat of pretrial publicity.

Therefore, this case more closely parallels the presumptively prejudicial circum-

stances in Rideau. Indeed, survey data confirms the conclusion that the Defendants

will not be able to assemble a fair and impartial jury as the Constitution requires.




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             1. Survey data from multiple sources show that prejudice has
                attached in this District.

      On behalf of all indigent clients charged in the wake of January 6, the Feder-

al Public Defender for D.C. retained the services of the professionals of Select Litiga-

tion to survey the D.C. jury pool. As explained in its report (“SL Report”), attached

as Exhibit 1, Select Litigation polled 400 potential D.C. jurors, and 400 potential ju-

rors in the Atlanta Division of the Northern District of Georgia in January 2022,

one year after the alleged actions of January 6, 2021. The FPD also retained the

services of a media research firm, News Exposure, to analyze aspects of news cover-

age concerning January 6. See Ex. 1, App. B.

      Around the same time — between January 18 and 22, 2022 — John Zogby

of Zogby Strategies conducted his own survey of 400 D.C. registered voters on behalf

of defendant Gabriel Garcia, No. 21-cr-129 (ABJ). His report (“Zogby Report”) is at-

tached as Exhibit 2.

      Another survey was conducted by In Lux Research between February 14

and March 16, 2022, on behalf of defendants Thomas Caldwell and Connie Meggs,

No. 21-cr-028 (APM). Unlike the two previous reports, their report deployed an

identical community attitude study that surveyed four separate federal venue units,

the United States District Court for the District of Columbia, the United States Dis-

trict Court for the Middle District of Florida – Ocala Division, the United States

District Court for the Eastern District of North Carolina, and the United States

District Court for the Eastern District of Virginia. Their findings are documented in

their report (“ILR Report I”) attached as Exhibit 3.



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        Finally, In Lux Research conducted another similar survey between Septem-

ber 21 and October 9, 2022, on behalf of defendants, Joseph R. Biggs, Zachary

Rehl, Enrique Tarrio, Dominic J. Pezzola, and Ethan Nordean, No 21-cr-175 (TJK).

Their findings are documented in their report (“ILR Report II”) attached as Exhibit

4.

        All these reports show the inescapable conclusion that prejudice has attached

to the D.C. jury pool and, over the course of the year, changed very little.

              2. Substantial majorities of potential jurors in D.C. have
                 prejudged January 6 defendants

        All four surveys of D.C. potential jurors showed that significant majorities

have unfavorable impressions of January 6 defendants, have already concluded they

are guilty, and have already concluded they had the specific intent to obstruct.

        Exhibit 1 summarizes Select Litigation’s findings. Highlights include that

D.C. residents overwhelmingly:

•    have unfavorable opinions of those arrested for participating in the January 6
     demonstrations (84%); and

•    would characterize these individuals with broad brushes as conspiracy theorists,
     white supremacists, and members of violent right-wing organizations (70%, 58%,
     54% respectively).

SL Report ¶¶ 9, 14. Significant majorities also:

•    would characterize these individuals as “criminals” (62%); and

•    have already formed the opinion that these individuals are people “guilty” of the
     charges brought against them (71%).

SL Report ¶¶ 14, 10.

        Despite jurors’ well-known duty not to determine guilt before hearing the ev-



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idence, over half of D.C. respondents admit that they are more likely to vote “guilty”

if they find themselves on a jury in one of these cases (52%). SL Report ¶ 11. Equal-

ly alarming, one-third of D.C. respondents would not trust a D.C. jury to give them

a fair trial if they were accused of violating the law on January 6th. SL Report ¶ 8

(reporting that only 67% of potential D.C. jurors stated that they believe that they

personally would receive a fair trial if they were defendants in a January 6 case).

       Further, the assessment of those respondents who claim that the January 6

defendants can get a fair trial is suspect. Of those who believe that January 6 de-

fendants can get a fair trial in D.C., 76% have already decided that these defendants

are guilty. Id. ¶ 12. Further, 56% of that group confessed that they would be more

likely to vote “guilty” if they were on a jury. Id.

       The Zogby Report reveals similar results. Highlights include:

•   Nearly 3 out of 4 respondents (73%) believe that any individual who was inside
    the Capitol on January 6, 2021 should be convicted of insurrection. (Question 9).

•   Seven out of 10 (70%) respondents believe that ANYONE who went inside the
    Capitol building that day were trying to stop the certification of the Electoral
    College vote for president. And almost two-thirds (63.9%) of respondents believe
    that despite not personally committing acts of vandalism or violence, an individ-
    ual could still be held responsible for such serious crimes assuming they went
    inside the building that day (Questions 15 and 16).

       ILR Report I shows even more disturbing findings. Indeed, 91% of the D.C.

respondents who answered the “pre-judgment test questions” admitted to making at

least one prejudicial prejudgment. ILR Report I at 2. In that survey, 85% of the D.C.

respondents characterized the events of January 6 as criminal in nature, even when

given the option to reserve judgment on that question. Id. at 3. Seventy-two percent

of the respondents said that they are likely to find the defendants guilty, even when


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given the choice “it is too early to decide.” Id. The survey also demonstrates that the

bias is far more prevalent among D.C. respondents than the three other judicial dis-

tricts surveyed. ILR Report I, Table 1(A) and (B), Figure 1 and 2.

       Perhaps most striking of all, the surveys show that an overwhelming per-

centage of D.C. residents have already made up their minds about an essential ele-

ment for several counts in the Superseding Indictment. To prove that the Defend-

ants knowingly entered a restricted building, the government must prove that they

entered the Capitol building or grounds and knew it was restricted as defined by the

statute. 18 U.S.C. § 1752. The ILR Report I showed that 71% of D.C. respondents

believe that all who entered the Capitol without authorization planned in advance

to do so, even when offered options to reserve judgment on that question. ILR Re-

port I at 3. The median response in all the districts surveyed for that question was

49%. Id. Thus, not only have most D.C. respondents reached the broad conclusion

that January 6 defendants are all “guilty,” but the vast majority have prejudged an

element essential to several charges in the case.

       Then, demonstrating that time does no favor to temper these sentiments, ILR

Report II reflected the following:

•   74% of D.C. Community respondents said that they are likely to find defendants
    guilty even when given the choice, “It is too early to decide.”

•   87% of the D.C. Community characterizes the events of January 6th as acts that
    are criminal in nature (insurrection, attack or riot), even when given options to
    reserve judgment on that question.

•   61% of the D.C. Community believes that all who entered the U.S. Capitol with-
    out authorization planned in advance to do so, even when offered options to re-
    serve



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       This is the type of pernicious bias that a typical voir dire would not reveal as

voir dire usually does not entail inquiring into jurors’ ideas about each element of

charged offenses. And asking jurors to state whether they have reached conclusions

that they cannot set aside during the trial will not reveal such prejudgment: jurors

do not always understand which of their opinions are relevant, and what they can-

not take for granted without proof beyond a reasonable doubt. See Smith v. Phillips,

455 U.S. 209, 221–22, 102 S. Ct. 940, 71 L. Ed. 2d 78 (1982) (O’Connor, J., concur-

ring) (“Determining whether a juror is biased or has prejudged a case is difficult,

partly because the juror may have an interest in concealing his own bias and partly

because the juror may be unaware of it.”).

       The weight of these four different studies conducted at four different times is

overwhelming. To put the findings into perspective, however, it is worth looking at

what the surveys found in other judicial districts surveyed.

             3. Survey results from other judicial districts show significant
                differences from the DC jury pool.

       Select Litigation surveyed 400 prospective jurors in the Atlanta Division of

the Northern District of Georgia, which is similar demographically to D.C. SL Re-

port ¶¶ 19–26. The results show that significantly fewer potential Atlanta jurors

have set their minds against January 6 defendants. For example:

•   84% of D.C. survey respondents view people arrested in the wake of January 6th

    unfavorably, but only 54% of Atlanta division respondents do;

•   71% of D.C. respondents believe that individuals charged are guilty, but only

    54% of Atlanta division respondents share this opinion;



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•    More than half of D.C. respondents say they are more likely to vote “guilty” if on

     a jury, but fewer than half of Atlanta division respondents say this;

•    62% of D.C. respondents characterize the January 6 defendants as “criminals,”

     and well over 50% characterize them as “white supremacists” and “members of a

     violent right-wing organization,” whereas fewer than half of Atlanta division re-

     spondents would characterize the January 6 defendants in these three ways

     (48%, 40%, and 39%, respectively).

SL Report ¶¶ 23, 24.

        Select Litigation also asked both sets of survey respondents in D.C. and the

Atlanta division to state whether they associated those who entered the Capitol on

January 6 with certain purposes, a question that had also been asked in a recent

national poll conducted by CBS/YouGov. SL Report ¶¶ 3, 18, 25. The results show

that potential jurors in Atlanta hold prejudicial views on this issue at similar rates

as national survey respondents. Id. ¶ 25. By contrast, a far greater share of D.C.’s

potential jurors hold prejudicial views on this issue.

    Comparison of Beliefs among Jury-eligible Citizens in D.C. & Atlanta Division, &
    adults nationwide
                                                               USA    D.C.      GA
    Trying to overturn the election and keep Don- Would        63%    84%      68%
    ald Trump in Power                            Would not     37      9       19


    Insurrection                                   Would        55%     76%     55%
                                                   Would not     45      13      27


    Trying to overthrow the US government          Would        54%     72%     57%
                                                   Would not     46      20      33




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  A protest that went too far                    Would        76%     69%      70%
                                                 Would not     24      24       21


  Patriotism                                     Would        26%     13%      25%
                                                 Would not     74      81       63


  Defending freedom                              Would        28%     10%      21%
                                                 Would not     72      86       70

      Both studies by InLux showed similar patterns. In their first study in Febru-

ary and March 2022 — where they surveyed three separate federal venue units: (1)

the United States District Court for the Middle District of Florida – Ocala Division,

(2) the United States District Court for the Eastern District of North Carolina, and

(3) the United States District Court for the Eastern District of Virginia (“The Test

Areas”), in addition to the United States District Court for the District of Columbia

— InLux noted that “while the Test Areas differ from each other in geographic loca-

tion, demographic composition and political party alignment, the Test Areas pro-

duced remarkably similar results on most questions in the survey, with the DC

Community standing apart.” ILR Report at 2 (emphasis added). “By measure,

the DC Community attitude toward the Events of January 6th and toward all de-

fendants associated with those events proves to be an outlier.” Id. (emphasis add-

ed). Furthermore, “[t]he response distributions from the DC Community deviate

considerably from both the medians and means of the response distributions

throughout the Study.” Id.

      As the report continued, “Key differences between the DC Community and

other Test Areas fall into at least five general categories: (1) prejudgment, (2) per-


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sonal impact and perceived victimization, (3) exposure to information related to the

case(s), (4) recognition and disclosure of bias, and (5) eligible population size. See

generally id. at 2–6.

       Months later, InLux conducted a second survey, surveying two different fed-

eral district divisions — the United States District Court for the Middle District of

Pennsylvania, the United States District Court for the Southern District of Florida,

— in addition to United States District Court for the Eastern District of Virginia

and the District of Columbia as “Test Areas.” ILR Report II at 1–2. InLux found

that the D.C. Community’s attitude toward Defendants was not only undeniably dif-

ferent than the Test Areas in this second survey, the responses also continued to

differ from those Test Areas in their original survey. ILR Report II at 3. “This

marked and persistent deviation [was] statistically meaningful in the same five

general categories as the first survey.” Id. In short, even with the passage of some

time, the jury pool in D.C. continued to show demonstrated bias compared to other

federal districts.

       B. The size and makeup of the D.C juror pool ensures that prejudice
          has attached.

       The District of Columbia is a compact major U.S. city and the smallest feder-

al district in the nation. Counsel respectfully submits that, due to the district’s

unique characteristics, prejudice has attached.

       First, the government and the media have portrayed the events of January 6




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as an attempt to overthrow the government – and an attack on democracy itself.3 As

the Court is aware, a large proportion of D.C. residents either work for the federal

government themselves or have friends or family who do. As of September 2017, the

U.S. Office of Personnel Management reported that there are 600,000 federal civil

workers and annuitants in the greater D.C. area (not including postal workers, F.B.I.

employees, and staff on several federal commissions).4 Nearly 190,000 of those

workers and annuitants work within D.C. itself. Id. With a total population of

around 690,000,5 it seems clear that any given member of the district’s jury pool has

a greater likelihood of being closely connected to the federal government than one in

a comparable metro area. In fact, as of 2019, according to the D.C. Policy Center,

active federal employment (including postal workers) accounts for nearly a third of

all jobs in D.C. itself, which figure does not include the many retired and former fed-

eral employees living in D.C.6

       Importantly, nearly 15,000 D.C. metro area residents work for Congress di-

rectly, each of whom have friends and family in D.C.7 Many others have friends and


3 See, e.g., Kevin McCoy & Kevin Johnson, Investigators Signal Some Capitol Riot Suspects Could Be

Charged with Conspiring to Overthrow U.S. Government, USA Today, (Feb. 19, 2021),
https://www.usatoday.com/story/news/2021/02/19/capitol-riot-did-conspirators-try-overthrow-u-s-
government/6750393002/; see also The January 6 Attack on the U.S. Capitol, American Oversight
(Jan. 5, 2022), https://www.americanoversight.org/investigation/the-january-6-attack-on-the-u-s-
capitol (“Trump supporters having for weeks discussed openly their plans for a violent overthrow.”).
4 Federal Civilian Employment, OPM   (Sept. 2017), https://www.opm.gov/policy-data-oversight/data-
analysis-documentation/federal-employment-reports/reports-publications/federal-civilian-employment/
5 District of Columbia Population – April 1, 2020, U.S. Census Bureau, https://www.census.gov/
quickfacts/fact/table/washingtoncitydistrictofcolumbia,US
6 Trends in Federal Employment in DC, DC Pol’y Ctr. (Mar. 28, 2019), https://www.dcpolicycenter.

org/wp-content/uploads/3019/03/Fed-jobs-role-in-DC-economy.png.
7 Vital Statistics on Congress, Brookings Institute (July 11, 2013), https://www.brookings.edu/wp-
content/uploads/2016/06/Vital-Statistics-Chapter-5-Congressional-Staff-and-Operating-


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family in law enforcement that responded to the Capitol on January 6.8

        In sum, an enormous share of D.C. residents have connections with the feder-

al government and entities that were directly affected by January 6. The quantity of

such connections is unlikely to be present in any other district. Because the gov-

ernment and much of the media have characterized the events of January 6 — in-

cluding the attempted obstruction in which the government alleges the Defendants

participated — as an attack on our elections, government institutions generally, and

democracy as a whole, a disproportionate number of D.C. residents are more likely

to view themselves as the direct victims of the events. Stated differently, if the fed-

eral government is the victim of many of the offenses alleged against the Defend-

ants, its employees and their families that consider it a monumental part of their

lives cannot be expected to set aside those connections and be truly fair and impar-

tial.


Expenses_UPDATE.pdf.
8 As  reported in the Human Capital Strategic Plan, as of early 2021, 2,250 individuals were
employed by the U.S. Capitol Police Force. Human Capital Strategic Plan 2021-2025, U.S. Cap. Po-
lice 1, 12 fig. 5 (2020), https://www.uscp.gov/sites/uscapitolpolice.house.gov/files/wysiwyg_uploaded/
USCP% 20Human%20Capital%20Strategic%20Plan%20for%202021-2025.pdf, 4,400 individuals are
employed by the Metropolitan Police Force, and 2,700 individuals are active members of the D.C.
National Guard. See Metropolitan Police Force Annual Report 2020, Gov’t D.C. Metro. Police Dep’t 32
(2020),
https://mpdc.dc.gov/sites/default/files/dc/sites/mpdc/publication/attachments/AR2020_lowres_a.pdf ; see
also About Us, DC Nat’l Guard (last visited Apr. 23, 2022), https://dc.ng.mil/About-Us/. More than
140 officers were allegedly injured from the events of January 6. See Michael Schmidt, Officers’ Inju-
ries, Including Concussions, Show Scope of Violence at Capitol Riot, N.Y. Times (July 12, 2021),
https://www.nytimes.com/2021/02/11/us/politics/capitol-riot-police-officer-injuries.html. And while not
all individuals employed by these agencies reported to the Capitol on January 6, all 9,350 individuals
were directly and adversely affected by the January 6 events in the form of increased presence and
overtime demands in the weeks that followed, greatly affecting morale. Indeed, as reported by local
media, more than 75 officers left the Capitol Police force in the few months following January 6.
Celine Castronuovo, More Than 75 Capitol Police Officers Have Quit Amid Low Morale Since
Jan. 6, The Hill (July 7, 2021, 11:01 AM)), https://thehill.com/policy/national-security/561832
-more-than-75-capitol-police-officers-have-quit-amid-low-morale-since.



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       Additionally, in the days following January 6, the D.C. Mayor declared a

state of emergency, implemented a city-wide curfew, restricted access to particular

roads and bridges, and requested that residents not attend inauguration.9 Metropol-

itan Police and over 25,000 military personnel occupied D.C. neighborhoods in the

weeks that followed.10 Indeed, a local subsidiary of the national public broadcasting

network, D.C.ist, reported that:

       Some residents have rescheduled medical appointments or switched up
       their bike and run routes to steer clear of downtown D.C. or the Capitol
       complex. Others say they are avoiding speaking Spanish in public or
       buying items like baseball bats for personal protection. Some are mak-
       ing plans to leave the city for inauguration. And many have feelings of
       anger, sadness, and heightened anticipation for the near future. […]
       Some residents are also worried that a stepped up military and police
       presence in the city may only add to their unease.11

As the Court is no doubt aware, the effects of these events continue to be felt in D.C.

Prior to protests to support detained January 6 defendants planned for September

2021, the Associated Press similarly reported, “In Edgy Washington, Police Out-

number Jan 6 Protestors.”12

       Further, an overwhelming number of D.C. residents — over 92 percent —


9 Mayor Bowser Orders Citywide Curfew Beginning at 6PM Today, Gov’t D.C. Muriel Bowser, Mayor

(Jan. 6, 2021), https://mayor.dc.gov/release/mayor-bowser-orders-citywide-curfew-beginning-6pm-
today; Mayor Bowser Issues Mayor’s Order Extending Today’s Public Emergency for 15 Days, Gov’t
D.C. Muriel Bowser, Mayor (Jan 6, 2021), https://mayor.dc.gov/release/mayor-bowser-issues-
mayor%E2% 80%99s-order-extending-today%E2%80%99s-public-emergency-15-days-a1.
10 Ellen Mitchell, Army: Up to 25,000 National Guard in DC for Biden Inauguration, The Hill (Jan.

15, 2021, 3:55 PM),https://thehill.com/policy/defense/534497-army-up-to-25000-national- guard-in-dc-
for-biden-inauguration.
11 Jenny Gathright & Rachel Kurzius, What It Feels Like to Live Under D.C.’s State of Emergency,

DCist (Jan. 13, 2021 12:27 PM), https://dcist.com/story/21/01/13/dc-state-of-emergency-residents/.
12 Associated Press, In Edgy Washington, Police Outnumber Jan. 6 Protesters, US News (Sept. 18,

2021), https://www.usnews.com/news/politics/articles/2021-09-18/police-say-theyre-ready-for-rally-su
pporting-jan-6-rioters



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voted for President Biden.13 According to the government’s theory of the case, many

of those who came to the Capitol in connection with January 6 acted to prevent

Biden from becoming President. Again, this stark political divide (and impact on ju-

ror attitudes) would not be as uniformly present in a different jurisdiction.

       Finally, the government, the media, and judges in this district speak of Janu-

ary 6 prosecutions as designed to prevent “another January 6.”14 As such, D.C. resi-

dents as jurors are highly likely to view the Defendants not only as someone who vic-

timized them, but also as someone who might victimize them again, raising a con-

cern about conviction for prevention rather than the Defendants’ individual guilt.

       The survey results, size, and characteristics of the D.C. jury pool make clear

that prejudice has attached, and that the Defendants cannot obtain a fair and im-

partial trial here.

       C. Media coverage in the district also prejudices the Defendants.

       The Sixth Amendment guards against jurors’ conclusions being induced by

“any outside influence” rather than “only by evidence and argument in open court[.]”

Skilling, 571 U.S. at 378 (quoting Patterson v. Colo. ex rel. Att’y Gen., 205 U.S. 454,

462, 27 S. Ct. 556, 51 L. Ed. 879 (1907)) (emphasis added). That outside influence



13 General Election 2020: Certified Results, DC Bd. Elections (Dec. 2, 2020, 11:26 AM),
https://electionresults.dcboe.org/election_results/2020-General-Election.
14 See, e.g., Zachary B. Wolf, These Republicans Are Worried About Trump's Attempted Coup 2.0,
CNN (Nov. 5, 2021) https://www.cnn.com/2021/11/05/politics/january-6-insurrection-trump-documen
tary-what-matters/index.html; see also Jordan Fischer et. al, ‘Resolving the crime of the century with
misdemeanors’ Judge Skewers DOJ At January 6 Sentencing, WUSA9 (Oct. 28, 2021, 2:47 PM),
https://www.wusa9.com/article/news/national/capitol-riots/resolving-the-crime-of-the-century-with-mi
sdemeanors-judge-skewers-doj-at-january-6-sentencing-beryl-howell-jack-griffith-anna-morgan-lloyd/6
5-352274e8-7279-4792-a878-cf4cb0cc20ae (explaining that the sentence was designed to alert “oth-
ers who might consider attacking the Capitol to know their punishment would ‘hurt.’”).



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can be “public print” or “private talk.” Id. (quoting Patterson, 205 U.S. at 462). It can

be “the sheer number of victims.” See id. at 437–38 (Sotomayor, J., concurring in

part and dissenting in part) (quoting with approval the Fifth Circuit’s statement

that the district court overseeing Skilling’s trial “seemed to overlook that the preju-

dice came from more than just pretrial media publicity, but also from the sheer num-

ber of victims”). The improper outside influence may be the nature of the media to

which jurors have been exposed, or its prevalence close to the time of the trial, or its

tendency to provoke identification with those directly affected by the conduct at is-

sue such that the jurors feel a personal stake in the outcome. See Skilling, 561 U.S.

at 372 (discussing broadcast of confession in small town in Rideau); United States v.

McVeigh, 918 F. Supp. 1467, 1473 (W.D. Okla. 1996). The outside influence may also

be “such identification with a community point of view that jurors feel a sense of ob-

ligation to reach a result which will find general acceptance in the relevant audi-

ence.” McVeigh, 918 F. Supp. at 1473.

        Like the pretrial publicity in Rideau that led the Supreme Court to rule that

the district court should have transferred the case to a new venue, the pretrial pub-

licity about January 6 cases has “invited prejudgment of . . . culpability” and been of

the “smoking gun variety.” Skilling, 561 U.S. at 383.15 In Rideau¸ the Court conclud-


15 In Skilling, although the Court established no bright line rules about when media can contribute

to a constitutional need to transfer venue, as the Court noted, when the Court has ruled that a case
should have been transferred to a new venue in order to preserve defendants’ constitutional right to
trial by an impartial jury, it has emphasized (1) “the size and characteristics of” the district, (2) the
extent to which news stories about the defendant contained confessions “or other blatantly prejudi-
cial information of the type readers or viewers” in that venue “could not reasonably be expected to
shut from sight,” and (3) the time that has passed between periods of significant publicity and the
trial. Skilling, 561 U.S. at 382-83; id. at 381 (“[P]resumption of prejudice . . . attends only the ex-
treme case.”).



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ed that no voir dire could cleanse the taint of a video of the defendant’s uncounseled

interrogation and “confession,” which had been broadcast in a small town several

times before trial. Rideau, 373 U.S. at 727. Here, potential jurors have been exposed

to hours and hours of videos of the events of January 6 and hundreds of images of

those events.

       Whereas the single recording at issue in Rideau captured a “dramatically

staged confession of guilt,” the hundreds of January 6 videos and photos circulated

over the last two and half years capture many of the alleged crimes themselves.

Skilling, 561 U.S. at 382–83. Vivid images splashed across D.C. papers’ websites and

television for the last two and a half years show people scaling the Capitol walls,

hoisting a hangman’s gallows and noose, waving Confederate flags, putting their

feet on the desks in the Capitol, rifling through papers on congressional desks,

hanging from the balconies in the Senate Chamber, and trying to break into the

House chamber, among hundreds of other scenes.16 Many of the images are “likely

imprinted indelibly in the mind of anyone who [viewed them].” See Skilling, 561 at

382–83. Most, if not all this evidence has nothing to do with the Defendants or this

prosecution, but because D.C. jurors have been inundated with these videos for over

two years, they cannot be expected to “shut [them] from sight” during trial. See Skil-

ling, 561 U.S. at 382.


16 See, e.g. Staff, ‘No pictures, no pictures’: The Enduring Images from Jan. 6, The Washington Post

(Jan. 4, 2022), https://www.washingtonpost.com/nation/interactive/2022/photos-jan-6-capitol/; Chil-
ling Images from the Capitol Riot: Jan. 6 Insurrection in Photos, USA Today (Jan 5. 2022),
https://www.usatoday.com/picture-gallery/news/politics/2022/01/03/jan-6-insurrection-photos-capitol-
riot/9052798002/; D. Bennett, et al., 41 Minutes of Fear: A Video Timeline from Inside the Capitol
Siege, The Washington Post (Jan. 16, 2021), https://www.washingtonpost.com/investigations/2021/01/
16/video-timeline-capitol-siege/.


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       As such, the pretrial publicity about January 6 has been “blatantly prejudi-

cial,” and is distinguishable from the type of press coverage that failed to convince

the Supreme Court in Skilling that a change of venue was warranted. See Skilling,

561 U.S. at 382-83 (distinguishing publicity in that case from the publicity in

Rideau because it contained “[n]o evidence of the smoking-gun variety” and was not

so shocking that it could not be shut from jurors’ minds during trial).

       Moreover, data gathered by News Exposure establishes that coverage of Janu-

ary 6 has been extensive and persistent, particularly in D.C. In one year, D.C. news-

papers published at least 500 articles about January 6, and local news syndicates

broadcast over 7000 stories about the day. Ex. 1, App. B-7 (print data); App. B-1

(broadcast data).17 This coverage is far more extensive and contemporaneous than

that in Skilling with repeated trials involving January 6 . See Skilling, U.S. at 428-

30 (Sotomayor, J., concurring in part and dissenting in part) (noting that it took

multiple years between Enron’s collapse and trial for there to accumulate hundreds

of Houston Chronicle articles, and 1,600 local broadcast stories about Skilling);

McVeigh, 918 F. Supp. at 1471 (noting how, in the weeks following the explosion,

there was less media coverage of the explosion outside of Oklahoma, however, “Ok-

lahoma coverage, in contrast, remained focused on the explosion and its aftermath

for a much longer period of time. Television stations conducted their own investiga-

tions, interviewing ‘eyewitnesses’ and showing reconstructions and simulations of


17 These estimates may understate coverage of January 6, as News Exposure only counted hits con-

taining a short list of terms: “January 6 riot” or “Capitol insurrection” or “Capitol riot” or “2021 US
Capitol attack” or “Capitol violence.” The Washington, DC newspapers News Exposure considered
were The Washington Post, The Washington Times, and Washington Examiner.



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alleged events. Such ‘investigative journalism’ continued for more than four months

after the explosion.”).

       News Exposure also analyzed coverage of January 6 in the Northern District

of Georgia. SL Report ¶¶ 27-32. Comparison of coverage in this District to coverage

in Atlanta reinforces how persistent coverage has been in D.C. The lowest month of

January 6 coverage in D.C. still surpassed January 6 coverage in 9 out of 12

months in Atlanta. SL Report ¶ 30; see also Ex. 1, App. B-1, B-2 (August 2021 in

D.C. had the lowest coverage of January 6 and, even then, it surpassed Atlanta’s

coverage in all but 3 months of the study). The data also show that D.C. print,

broadcast, and web coverage of January 6 has exceeded Atlanta’s almost every

month and has far surpassed Atlanta’s coverage over the last year as a whole. Ex. 1,

App. B. Indeed, for every story about January 6 in the Atlanta Journal-Constitution

since January of 2021, there have been at least two in The Washington Post. SL Re-

port ¶ 28.18

        In short, the data shows that D.C. residents have been exposed to more con-

stant coverage of January 6 than residents of a comparable district. Consequently,

the Defendants maintain that this Court will be unable to seat a truly impartial ju-

ry in this district.

       D. Transferring this case out of the district is the only way to safe-
          guard the Defendants’ constitutional right to an impartial jury.

       The Supreme Court has recognized certain conditions that make it more diffi-


18 Again, the ILR Report supports the results of the Select Litigation Survey. Only 4.83% of District

respondents said they “never or almost never” follow news coverage as opposed to 13.4% in the East-
ern District of Virginia. ILR Report, Table 1(C).



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cult for a juror to accurately assess her own bias or to ignore salient community atti-

tudes about the case. See Rideau, 373 U.S. at 726-27 (concluding that no review of

“the voir dire examination of the members of the jury” was necessary to determine

that in that case “due process of law. . . required a [transfer]”); see also Irvin v. Dowd,

366 U.S. 717, 728, 81 S. Ct. 1639, 1645, 6 L. Ed. 2d 751 (1961) (“No doubt each juror

was sincere when he said that he would be fair and impartial to petitioner, but psy-

chological impact requiring such a declaration before one’s fellows is often its father.

Where so many, so many times, admitted prejudice, such a statement of impartiali-

ty can be given little weight. As one of the jurors put it, ‘You can’t forget what you

hear and see.’”). Judge Matsch described this sentiment perfectly in McVeigh:

      The existence of such a prejudice is difficult to prove. Indeed it may go
      unrecognized in those who are affected by it. The prejudice that may
      deny a fair trial is not limited to a bias or discriminatory attitude. It
      includes an impairment of the deliberative process of deductive reason-
      ing from evidentiary facts resulting from an attribution to something
      not included in the evidence. That something has its most powerful ef-
      fect if it generates strong emotional responses and fits into a pattern of
      normative values.

McVeigh, 918 F. Supp. at 1472.

       The presumption of juror prejudice here stems from the small size of this dis-

trict, its many federal employees, the aftermath of January 6, and the political

makeup of D.C., coupled with the government’s theory of the case — which make

this venue uniquely unlikely to produce an impartial jury. Data confirms extremely

high levels of prejudice among potential jurors in this district. Most potential D.C.

jurors have already made up their minds that the January 6 defendants are crimi-

nals. Many do not realize that they have already prejudged essential elements of the



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government’s case. As a result, even those striving to be honest during voir dire and

to meet their obligations as jurors, would nevertheless remain partial in ways that

voir dire could not reveal. See id. at 1473 (“Properly motivated and carefully in-

structed jurors can and have exercised the discipline to disregard that kind of prior

awareness. Trust in their ability to do so diminishes when the prior exposure is such

that it evokes strong emotional responses or such an identification with those directly

affected by the conduct at issue that the jurors feel a personal stake in the outcome.

That is also true when there is such identification with a community point of view

that jurors feel a sense of obligation to reach a result which will find general ac-

ceptance in the relevant audience.”).

       Under these extreme and rare circumstances, prejudice must be presumed,

and the Court should transfer this case to another venue to preserve the Defend-

ant’s rights under to the Constitution, or at least pursuant to the Court’s discretion

under Rule 21. See Skilling, 561 U.S. at 446 n.9 (Sotomayor, J., concurring in part

and dissenting in part) (noting that district courts have wide discretion to transfer a

case to another venue even if trial in the originating venue would not violate the

Constitution, and that it would not have been imprudent to transfer the Skilling

case given “the widely felt sense of victimhood among Houstonians and the commu-

nity’s deep-seated animus toward Skilling” even if these issues did not preclude a

constitutional trial).

       Defendants are scheduled for trial on October 16, 2023. As of this filing, D.C.

jurors have almost exclusively convicted January 6th defendants on all counts. By




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October 2023, more January 6 defendants will have gone to trial. Media outlets will

continue the constant coverage of trial proceedings, guilty pleas, verdicts, and sen-

tences. The already-small pool of potentially eligible jurors will shrink, and pretrial

publicity will continue to erode potential jurors’ impartiality. As a result, the rea-

sons for the Court to presume prejudice will only grow between now and the De-

fendant’s trial. To ensure that the Defendants’ trial proceeds as scheduled, and that

they are tried by an impartial jury, the Court should transfer this case to another

suitable venue as soon as possible.19

       WHEREFORE, PREMISES CONSIDERED, the Defendants respectfully re-

quest this Court move their trial outside the District of Columbia.

                                    Respectfully Submitted,

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19 If the Court were to require a suggested alternative, the Defendants would propose transferring

the case to the District of Utah as it is accessible to all the defendants. However, the Defendants are
more concerned simply with having their trial moved out of the District of Columbia and are willing
to consider transfer to other districts.


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                         CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this motion was sent to Counsel for

the Government, Kelly Moran, Carolina Nevin, and Karen Rochlin and, on July 17,

2023, via CM/ECF and email.

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                                             Survey of Washington
                                             DC Registered Voters
                                             on Opinions
                                             Concerning the
                                             January 6, 2021 Events
                                             at the Capitol Building
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Methodology
 survey of 400 Washington DC registered voters regarding their opinions about the January 6, 2021
 events at the Capitol building and sources of media about such events.
 The margin of error for the sample of 400 DC registered voters is +/- 5 percentage points from a
 universe of emails of such registered voters.
 Each invitation for this survey was password coded and secured so the IP addresses were not
 tracked as well as to prevent each respondent from taking the survey more than once. Subsets of
 the data have a larger margin of error than the whole data set.
 While additional factors can create error, such as question wording and question order, JZS took
 steps to reduce such error. Slight weights were applied to age and race to more closely reflect the
 population of those aged 60 and above.
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Executive Summary/Analysis of Overall Findings
Washington, DC does not appear to be a hospitable venue for a fair trial of Mr. Garcia for his alleged involvement in the events at the Capitol on January 6, 2021.
   Q6. Greater than 9 in 10 respondents (95%) said they have overall familiarity (very and somewhat combined) with the January 6, 2021 events at the Capitol; and
   more than two-thirds (67%) of whom stated they are very familiar with these events.
   Q7. A majority (54%) of the sample responded that national media sources were more responsible in shaping views about the events in question. Just under 4 out
   of 10 respondents (39%) said local news sources were more instrumental.
   Q8. Just under 2 in 3 respondents (66%) agreed that the January 6, 2021 events posed a dire threat to our nation and democracy (Statement A); this same
   opinion held by both age groups above 50 years old (50 64 and 65+ years of age) rose above three-fourths of respondents (75.1% and 78%, respectively).
    Q9. Nearly 3 out of 4 respondents (73%) believe that any individual who was inside the Capitol on January 6, 2021 should be convicted of insurrection.
   Q10. Seven in 10 respondents (70%) stated they are familiar with the Proud Boys organization. This figure climbed to 8 in 10 (78%) among 30    49 year-old
   respondents.
   Q11. When asked their opinion of the Proud Boys, over two-thirds of respondents (68%) said they hold an overall unfavorable (very and somewhat combined)
   opinion, with a clear majority (60%) who expressed a very unfavorable opinion.
   Q12. Meanwhile, greater than a majority of those familiar with the Proud Boys (54%) expressed familiarity with Gabriel Garcia, with many fewer     approximately
   one-third (34%) having said they are unfamiliar.
   Q13. Close to 9 out of 10 respondents (88%) who are familiar with Mr. Garcia, felt that if he were shown to have been inside the Capitol building on January 6,
   2021 he should be convicted of obstruction of justice and civil disorder. And just about two-thirds of these respondents (65%) said this view of theirs is more
   attributable to national media than local media sources (Q14).
   (Keep in mind that 54% of all respondents stated that national media sources were more instrumental in shaping their views of the January 6, 2021 events at
   the Capitol [Q7].)
   Q15. Seven out of 10 (70%) respondents believe that ANYONE who went inside the Capitol building that day were trying to stop the certification of the Electoral
   College vote for president. And almost two-thirds (64%) of respondents believe that despite not personally committing acts of vandalism or violence, an individual
   could still be held responsible for such serious crimes assuming they went inside the building that day (Q16).
   Q17. More than one-third respondents who said yes to Q16 (35%) stated the reason for holding such a view was because they believe that ANYONE who entered
   the building that day is guilty of such acts (Statement A). While greater than 6 in 10 respondents (62%) stated they hold such a belief because just being inside
   regardless of personal commission means they were involved in planning or orchestrating the events (Statement B).
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       Q6: How familiar are you with the January 6, 2021 events at the US
                                    Capitol?

                    67%

 70%


 60%


 50%


 40%
                                         28%

 30%


 20%
                                                                5%

 10%


  0%
           Very familiar       Somewhat familiar    Not familiar/Not sure
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       Q7: Which media sources were more instrumental in
            shaping your opinion about these events?
 60%
                      54%

 50%
                                       39%

 40%



 30%



 20%

                                                       6%
 10%



 0%
       NATIONAL MEDIA SOURCES   LOCAL MEDIA SOURCES   NOT SURE
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           Q8: Which description of the January 6, 2021 events at the US
                  Capitol comes closer to your opinion about it?
                              78%
                     75%
 80%         66%

 70%

 60%

 50%

 40%                                              27%

 30%                                                     16%            20%

                                                                                 7%       9%
 20%
                                                                                                 3%
 10%

  0%
        Statement A - dire threat and   Statement B - Unwise and caused               Not sure
       worst assault on US democracy    senseless damage to the building
                                            and people's lives but not


                                        Overall     50 - 64 Year Olds      65+
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       Q9: Do you believe that any individual who was inside
       the US Capitol on January 6, 2021 should be convicted
                          of insurrection?
 80%
                   73%
 70%

 60%

 50%

 40%

 30%
                                  15%
                                                   13%
 20%

 10%

 0%
             YES                   NO                NOT SURE

                                Overall
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      Q10: Are you familiar with the organization called the Proud Boys?
                78%
80%     70%


70%


60%


50%
                                                                     Overall
40%                                                                  30 - 49 Year olds

                           21%
30%

                                     15%
20%
                                                 9%
                                                          7%
10%


 0%
          Yes                 No               Not sure
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             Q11: Overall, how would you rate the Proud Boys?
 70%


 60%                                                                60%


 50%


 40%


 30%


 20%
                13%          9%
                                       7%               8%                      3%
 10%


 0%
       VERY FAVORABLE   SOMEWHAT    NEUTRAL          SOMEWHAT        VERY       NOT SURE
                        FAVORABLE                   UNFAVORABLE   UNFAVORABLE

                                              Overall
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        Q12: ARE YOU FAMILIAR WITH THE PROUD BOYS
          ORGANIZATION MEMBER NAMED GABRIEL
                         GARCIA?
                               Overall

 60%           54%


 50%


 40%                             34%


 30%

                                                    13%
  20%


  10%


   0%
              Yes                 No              Not sure
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        Q13: Do you believe that if he went inside the Capitol,
         he should be convicted of obstruction of justice and
       civil disorder for his involvement in the January 6, 2021
                        events at the US Capitol?
 90%                88%

 80%

 70%

 60%

 50%

 40%

 30%
                                                     8%
                                     5%
 20%

 10%

 0%
              YES                    NO                   NOT SURE

                                  Overall
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        Q14: Which media sources were more instrumental in shaping
                    your opinion about Gabriel Garcia?

                    65%

 70%


 60%


 50%
                                          32%
 40%


 30%


 20%
                                                           3%
 10%


  0%
       National media sources   Local media sources   Not sure

                                          Overall
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       Q15: . Do you believe that anyone who went inside the
       Capitol building on January 6, 2021 was trying to stop

 70%                70%


 60%


 50%


 40%


 30%                              18%

 20%                                               12%


 10%


 0%
              YES                  NO                NOT SURE

                                Overall
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        Q16: ASSUMING SOMEONE DID GO INSIDE THE
         CAPITOL BUILDING ON JANUARY 6, 2021 AND
        DID NOT COMMIT ANY ACTS OF VANDALISM OR
        VIOLENCE, DO YOU BELIEVE THEY COULD STILL
          BE HELD RESPONSIBLE FOR OTHER PEOPLE'S
           ACTS OF VANDALISM AND/OR VIOLENCE?
                               Overall
               64%
 70%

 60%

 50%

 40%
                                 22%
  30%                                               15%
  20%

  10%

   0%
              Yes                 No              Not sure
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         Q17: Why do you believe such a person could still be
           held responsible for the events that occurred on
        January 6, 2021 despite not personally committing acts
                      of vandalism or violence?
 70%                                                63%
 60%

 50%
                           35%
 40%

 30%

 20%                                                                   2%
 10%

  0%
        STATEMENT A - ANYONE INSIDE       STATEMENT B - EVEN IF NO     NOT SURE
       THE BUILDING IS GUILTY OF SUCH    PERSONAL COMMISSION, JUST
               CRIMINAL ACTS            BEING INSIDE MEANS A PART OF
                                        PLANNING OR ORCHESTRATING

                                        Those Who Said "Yes" to Q16
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